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           IN THE UNITED STATES BANKRUPTCY COURT OF THE
                      NORTHERN DISTRICT OF-GEOIWIA




 CASSANDRA JOHNSON-LANDRY                                                  CHAPTER 7      evAwcw--
 DEBTOR                                                                   BRe4 5-5569-MRC
                                                                                -,s-s 5 4-e_4_


 OBJECTION TO APPLICATION OF HERBERT BROADFOOT II ESQ, FOR ALLOWANCE
 OF COMPENSATION AS COUNSEL FOR THE CHAPTER 7 TRUSTEE


           Debtor currently objects to the Application of Herbert Broadfoot II ESQ, for allowance of

 Compensation as Counsel for the Chapter 7 Trustee.

     A. According to the Handbook for Chapter 7 Trustees the following applies:

 Attorneys and accountants shall not be compensated for performing the statutory duties of the

 trustee. 11 U.S.C. § 704, Fed. R. Banks. P. 2015(a). The following list includes examples of

 services considered to fall within the duties of a trustee:

   ) Preparing for and examining the debtor at the meeting of creditors in order to verify factual

 matters

  2)Examining proofs of claim and filing routine objections to the allowance of any claim that is

 improper

 3)Investigating the financial affairs of the debtor

 4) Furnishing information to parties in interest on factual matters

 5)Collecting and liquidating assets of the estate by employing auctioneers or other agents and

 soliciting offers

                                                   1
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 6) Preparing required reports

 7) Performing banking functions; and Handbook for Chapter 7 Trustees Page 4-22

 8) In appropriate cases, filing applications for employment of professionals and supervising

 those professionals.

 9) Tasks completed by Trustee's Counsel should NOT be billed at a higher rate if the Chapter 7

 Trustee is capable of performing the same task.

        B. The aforementioned trustee duties are not compensable as legal or accounting services

 unless sufficiently documented to show that special circumstances exist. Given the Debtor was

 denied requests for fraud investigations special circumstances do NOT exist. (EXHIBIT A)

 1/7/2019, 1/2/2019, 1/8/2019, 1/24/2019, 2/8/2019,2/15/2019, 3/27/2019,6/10/2019,3/27/20,

 1/5/2021, 11/4/2020, 8/21/2020, 08/26/20, 2/12/2020, 12/4/2019, 1/11/2020, 1/13/2020 (1),

 1/13/2020(2). 1/13/2020(3) 11/26/2019, 11/22/2019, 1/20/2020, 1/24/2020, 1/28/2020, 1/29/

 2020, 2/3/2020, 2/4/2020, 2/12/2020, 2/10/2020, 2/6/20202, 12/4/2019, 1/10/2020, 11/21/2019,

 3/10/2020,4/9/2020, 3/27/2020, 3/11/2020, 3/05/2020, 3/4/2020, 4/16/2020, 7/9/2020, 6/3/2020,

 6/2/2020,5/27/2020,5/19/2020, 4/25/2020, 7/17/2020, 7/29/2020, 7/30/2020, 8/12/2020).

 Furthermore, it appears words were used interchangeably/substituted for wording outlined within

 the Chapter 7 Trustee Handbook in order validate billing.

    C. Chapter 7 Trustee did not provide an explanation of payment requested as it relates to

        defining each expense which provided the accumulative amount listed of 422.72 and also

        how the amount of 9093.44 was derived, This information was requested previously

        within the Motion to Compel submitted by Debtor (EXHIBIT A)

    D. The status of the Chapter 7 Trustee's list of Abandonments as reflected within Form 1

        /Individual Estate Property Record and Report, BUT not addressed within the



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       Application for Compensation , but would have been considered as payments, if collected

       could have been applied towards Debtors alleged debts, which included:

    1. Alliance for Change through Treatment LLC. which 3554-3556 Habersham at Northlake

       Bldg H is referenced and 3547 Habersham at Northlake Bldg F both residing in Tucker

       Ga 30084.

    2. Adversarial Action for Debtor's Personal Injury Claim dates of 5/22/2017 (Driver

       currently deceased due to suicide on 11/1/2017 and auto injuries from accident date

       11/29/2016.

    3. Adversarial Action regarding the modification of Transcripts from the 2016

       Administrative Hearing for Alliance for Change Through Treatment LLC. which led to

       an inactive stay status of the 30 million dollars Adversarial Action against the

       Department of Community Health.

    4. The Abandonment of Attachment and Bonding Center of Atlanta LLC, which is owed a

       substantial amount of money from the Department of Children and Family Service

       totaling over 2mi11ion dollars.

    5. Adversarial Action of Auto Accident involving Co-Debtor who is not a part of Debtor's

       Bankruptcy action.

    E. Due to the excessive amount of ID theft, Submitted Grid (EXHIBIT B) identifies

       unsecured creditors and agreed upon amount for payments without Fraud Investigation

       based on submitted Police Report as much of the activity on unsecured accounts occurred

       immediately after Debtor's Id Theft (EXHIBIT C).




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       Debtor is requesting the court to review all alleged debts due to the submitted Proof of ID

       Theft which was recently uncovered. This includes a Bankruptcy filed in the Courts of

       Gwinnett County identifying another individual with both my first and maiden name,

       This information was brought to my attention in addition to additional documents

       reflecting appeared ID THEFT.




       10th Day of March 2021




       CASSANDRA JO 'ISON+LANDRY, PRO SE

       678.860.3621

       Cjlandry1967@gmail.com




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                          EXHIBIT A
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                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF GEORGIA
                                           ATLANTA DIVISION

In re: LANDRY, CASSANDRA JOHNSON                                 Case No. 18-55697-LRC




                     Debtor(s)

                                 NOTICE OF TRUSTEE'S FINAL REPORT AND
                                   APPLICATIONS FOR COMPENSATION
                                     AND DEADLINE TO OBJECT (NFR)

         Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(0(8), please take notice that S. Gregory Hays,
trustee of the above styled estate, has filed a Final Report and the trustee and the trustee's professionals have
filed final fee applications, which are summarized in the attached Summary of Trustee's Final Report and
Applications for Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                                           1340 Richard B. Russell Bldg.
                                             75 Ted Turner Drive, SW
                                                Atlanta, GA 30303
        Please take further notice that the Court will hold a hearing on the Trustee's Final Report and
Applications for Compensation in Courtroom 1204, United States Courthouse, 75 Ted Turner Drive, SW,
Manta Georgia, at 10:10 a.m. on March 11,2021.

        Given the current public health crisis, hearings may be telephonic only. Please check the "Important
Information Regarding Court Operations During COVID-19 Outbreak" tab at the top of the GANB Website pri or
to the hearing for instructions on whether to appear in person or by phone.

        Your rights may be affected by the Court's ruling on these pleadings. You should read these pleadings
carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.) If you do not want the Court to grant the relief sought in these
pleadings or if you want the court to consider your views, then you and/or your attorney must attend the
hearing. You may also file a written response to the pleading with the Clerk at the address stated below, but
you are not required to do so. If you file a written response, you must attach a certificate stating when, how and
or whom (including addresses) you served the response. Mail or deliver your response so that it is received a/
the Clerk at least two business days before the hearing. The address of the Clerk's Office is Clerk, U.S.
Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must also mail a copy of your
response to the undersigned at the address stated below.


Date Mailed: 02/02/2021                                    By: /s/ S. Gregory Hays
                                                                              Chapter 7 Trustee
S. Gregory Hays
2964 Peachtree Road, NW, Ste. 555
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- Atlanta, GA 3030&
  (404) 926-0060




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                                              UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF GEORGIA
                                                      ATLANTA DIVISION

      In re:LANDRY, CASSANDRA JOHNSON                                       Case No. 18-55697-LRC




                                Debtor(s)


                                            SUMMARY OF TRUSTEE'S FINAL REPORT
                                            AND APPLICATIONS FOR COMPENSATION

                          The Final Report shows receipts of:                                                        116,868.71?,
                           and approved disbursements of:                                                              1,243.07
                          leaving a balance on hand oft:                                                             115,625.71

                      Claims of secured creditors will be paid as follows:

        Claim         Claimant            Claim Asserted         Allowed Amount of         Interim Payments to            Proposed
        No.                                                                 Claim                        Date              Paymerc
        1             The Downs                   2,911.35                   2,911.35                        0.00                0.01)
                      Homeowners
                      Association,
                      Inc.
        7             Wilmington               199,59630                  199,596.30                         0.00                0.00
                      Savings Fund
                      Society, FSB
        ,             Deutsche Bank            281,001.85                 281,001.85                         0.00                0.00
                      National Trust
                      Company
        10            JPMorgan                 492,297.43                 492,297.43                         0.00                0.0C1
                      Chase Bank,
                      NA
                                                                                                                 L
        11            JPMorgan                         0.00                       0.00                       0.00-
                      Chase Bank,                                           .
                      NA
        17            Wilmington               139,245.29                 139,245.29                         0.00                0.00
                      Trust, NA
        '13           Veripro                   64,540.89                  64,540.89                         0.00                0.00
                      Solutions



                    1The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
              earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
' I           receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
              account of the disbursement of the additional interest.
      UM' Form 101-7-NFR (10/1/2010)



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  Claim        Claimant          Claim Asserted      Allowed Amount of        Interim Payments to        Proposed
  No.                                                           Claim                       Date          Paymeni:
 ....                                                                                                      ____
  19           Natchez Trace           2,049.87                2,049.87                       0.00           0.00
               Homeowners
               Association,
               Inc.
  2,5          The Downs               2,911.35                2,911.35                       0.00              0.001
               Homeowners
               Association,
  ..._         Inc.
                                              Total to be paid to secured creditors:                           0.00
                                              Remaining balance:                                         115,625.71

               Applications for chapter 7 fees and administrative expenses have been filed as follows:
 Reason/Applicant                                                           Total          Interim       Proposed
                                                                        Requested      Payments to        Payment
                                                                                             Date
  'Trustee, Fees - S. Gregory Hays                                         9,093.44            0.00       9,093.44.
 ....                                                                                                         .........
  'Trustee, Expenses - S. Gregory Hays                                        422.72           0.00         422.72
   _                                                                                                           —
  Attorney for Trustee Fees (Other Firm) - Herbert C. Broadfoot           23,775.00            0.00      23,775.00
  I, PC

                    Total to be paid for chapter 7 administrative expenses:                                33,291.16
                    Remaining balance:                                                                     82,334.55

               Applications for prior chapter fees and administrative expenses have been filed as follows:
  Reason/Applicant                                                    Total            Interim        Proposed
                                                                      Requested        Payments to    Payment
                                                                                       Date

                                                        None

                   Total to be paid for prior chapter administrative expenses:                                   0.00
                   Remaining balance:                                                                      82,3:34.55

                 In addition to the expenses of administration listed above as may be allowed by the Court,
        priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured)
        creditors.
                 Allowed priority claims are:
  Claim        Claimant                             Allowed Amount        Interim Payments               Proposed
  No.                                                      of Claim                 to Date               Payment




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 Claim         Claimant                              Allowed Amount         Interim Payments                Proposed
 No.                                                        of Claim                  to Date                Payment
 E7).—         Department of the Treasury                         0.00                     0.00                  0.00
 23            Cassandra Johnson Landry                           0.00                     0.00                  0.00
  _            For Alliance For Change

                                                   Total to be paid for priority claims:                          0.00
                                                   Remaining balance:                                        82,334.55

                The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).
                Timely claims of general (unsecured) creditors totaling $187,192.71 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
        timely allowed general (unsecured) dividend is anticipated to be 44.0 percent, plus interest (if
        applicable).
               Timely allowed general (unsecured) claims are as follows:
  _......                                                                                                      _____
  Clairn       Claimant                              Allowed Amount         Interim Payments                Proposed
  No.                                                       of Claim                  to Date                Payment
  2            Bureaus Investment Group                     13,719.40                      0.00              6,034.33
               Portfolio No 15 LLC
  3            Valeri Burnough                              30,060.95                      0.00             13,221.97
  4            American Express National                    13,31203                       0.00              5,855.14
               Bank
  6            Midland Funding LLC                            9,000.99                     0.00              3,958.98
  9            0uantum3 Group LLC                               182.60                     0.00                 80.31
  12           Bank of America, N.A.                        22,656.01                      0.00              9,964.98
  13           Bureaus Investment Group                     11,439.52                      0.00              5,031.54
  ........     Portfolio No 15 LLC                                                                             ______
  14           CACH, LLC                                    33,646.86                      0.00             14,799.18
  15           Woodbridge Mortgage                                0.00                     0.00                   0.00
               Investment Fund 3A, LLC
  16           Emory Eastside Medical                           150.00                     0.00                 65.98
               Center
  20           Georgia Department of                        42,634.37                      0.00             18,752.23
               Community Health
  21           Bureaus Investment Group                     10,389.98                      0.00              4,569.91
               Portfolio No 15 LLC
  22           Alliance For Change Through                        0.00                     0.00                   0.00
               Treatment LLC




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  Claim       Claimant                             Allowed Amount        Interim Payments               Proposed
  No.                                                     of Claim                 to Date              Payment
  22-2        Alliance For Change Through                      0.00                    0.00                    0.00
              Treatment LLC
  24          Attachment and Bonding Ctr.                      0.00                    0.00                    0.00
              Of Atlanta
  24-2        Attachment and Bonding Ctr.                      0.00                    0.00                    0.00
              Of Atlanta

                     Total to be paid for timely general unsecured claims:                               82,334.55
                     Remaining balance:                                                                       0.00

               Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will
       be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
       claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
       interest (if applicable).
              Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                             Allowed Amount        Interim Payments               Proposed
  No.                                                     of Claim                 to Date              Payment

                                                        None

                     Total to be paid for tardily filed general unsecured claims:                                0.00
                     Remaining balance:                                                                          0.00

            • Subordinated unsecured claims forfines, penalties, forfeitures, or damages and claims
       ordered subordinated by the Court totaling $0.00 have been allowed and will.be paid pro rata only
       after all allowed administrative, priority and general (unsecured) claims have been paid in full. The
       dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if
       applicable).
                Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
       ordered subordinated by the Court are as follows:

  Claim       Claimant                             Allowed Amount        Interim Payments                Proposed
  No.                                                     of Claim                 to Date                Payment

                                                        None

                                              Total to be paid for subordinated claims: $                        0.00
                                              Remaining balance:                                                 cui5




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                                               Prepared By: /s/ S. Gregory Hays
                                                                         Chapter 7 Trustee
    S. Gregory Hays
    2964 Peachtree Road, NW, Ste. 555
    Atlanta, GA 30305
    (404) 926-0060



    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                     Herbert C. Broadfoot II, RC.
                                        2964 Peachtree Road
                                     Buckhead Centre - Suite 555
                                       Atlanta, Georgia 30305

S. Gregory Hays, Chapter 7 Trustee                                                         January 14, 2021
Elm Financial Consulting, LLC                                                                          43-1
2964 Peachtree Road, N,W.
Suite 555
   lanta, GA 30305



Matter No. 43-1
Cassandra Johnson Landry, Debtor 18-55697-LRC


Fees: •                                                     •                    Hours

01/02/19           HCB   Office conference with Trustee to discuss                  0.90             $337.50
                         representation in Chapter 7 Oast of Cassandra
   / g..
                         Johnson Landry, Debtor (.4); Review file And • •
                         docket to determine status of case, action needed
                         (.5)

01./07/19          HCB   Prepare and file Application to Employ•Herbert ... '     : .0.70            $262.50
   e-tic-                C. Broadfoot II, PE. (HCBPC) as attorney for .‘ ....-   ',f,'
                         Trustee (.7)                                       ,

01/08/19 ?         HCB   Prepare and upload Order granting Application to         • 0.50        •    $187.50
                         Employ attorney for Trustee (.5)    -

01/10/19           HCB   Prepare for hearing on Debtor's Motion to                 .. 4.70          $1,762.50
      s                  remove Trustee (.8); Attend hearing on Motion to
                         remove Trustee (3.0); Prepare and upload Order
                         denying Motion to remove Trustee (.1); Receipt
                         and review of Debtor's Objection to employment
                         of HCBPC as attorney for Trustee (.2)       , •
      \ 2_4
o 11/19            HCB    Receipt and review of Order denying Motion to                  0.10          $37.50
                          remove Trustee and requiring Debtor to attend
           (9-11
                          341 Meeting and.to cooperate•with Trustee (.1)

 01/17/19 cf--     HCB    Receipt and review of Debtor's Objection to                    0.70         $262.50
                          Order denying Motion to Remove Trustee (.2);
                          Receipt and review of Debtor's Notice of Fraud,
                          Intent to Commit Fraud (.5)
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Matter No. 43-1                                                                      January 14, 2021
Cassandra Johnson Landry, Debtor 18-55697-LRC                                                  Page 2


01/2419          HCB        Conference with Trustee regarding insurance       0.30           $112.:50
                            policy assets, abandonment of properties,
                            objection to Debtor's claims of exemptions (.3)

01/28/19         HCB        Review and sign off creditor's Order granting     0.20            $75.00
                            Motion for Relief from Stay (.2)

02/08/19         HCB        Telephone call with Ms. Euell, Senior Legal       0.40           $150.00
                            Process Coordinator, Northwestern Mutual
                            concerning Debtor's insurance policies, and
                            followup email to Ms. Euell to confirm
                            conversation, request for information (.4)

02/12/19         HCB        Prepare and file Trustee's Objection to           1.00            $375.00
                            Exemptions (1.0)

02/14/19*         HCB       Receipt and review of Debtor's Notice of          0.20             $75.00
                            Conversion from Chapter 7 to Chapter 13 (.2)

02/15/19 6/-      HCB       Email from Ms. Buell, Northwestern Mutual         0.40            $150.00
                            Senior Legal Process Coordinator, providing
                            requested information about insurance policies
                            and conference with Trustee concerning assets
                            (.4)

02/22/19 L. HCB             Receipt of Order and Notice of Hearing of          0.30           $112.50
                            Conversion from Chapter 7 to Chapter 13 (,1);
                            Review Chapter 13 Trustee's Response to
                            Debtor's Request to Reconvert (.2)

02/2:/19       d....1-1CB   Note Debtor's Change of Address filed (.1)        ,0.00         No charge

Ci/27/19          HCB       Email to attorney Mandy Campbell representing      0.20            $75.00
                            Chapter 13 Trustee regarding Northwestern
                            Mutual insurance policies (.2)

C5/22/19          HCB       Review of Complaints filed by and against          0.50            $187.30
                            Debtor: Adversary No. 19-05217; Adversary No.
                            19-05218 (.5)

 06/04/19         tICB       Review of Order denying Debtor's Motion to        0.30            $112.30
                             Reconvert case to Chapter 13 (.3)

131,/10119        HCB        Telephone call with Ms. Angela Euell,             0.40            $150,00
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.M:3:tier No. 43-1    •                                                                      January 14, 2021
Cassandra Johnson Landry, Debtor 18-55697-LRC                                                        • Page 3


                           Northwestern Mutual Senior Legal Process
                           Coordinator, regarding values of life insurance
                           and variable annuity policies (2); Email to Ms.
                           Euell to confirm request (.2)

 )5/1[/19          HCB     Review Response of Debtor to Order Denying                 0.30           $112.50
                           Debtor's Motion to Reconvert Case (.3) • •
                                               ••      •      '
 01/1.2/19 (.V441CB        Review of multiple Orders entered 7/12/2019,               0.80            $300.00
                           including Order and Notice of Hearing on
                           Objection to Employment of HOBPC as attorney
                           for Trustee; calendar hearing (Ai)   • •

 ,37/1.6/19   t4   HCB     Email to Ms. Euell of Northwestern Mutual                   0.20            $75.00
                           requesting current information on policies (.2)

 J7/23/19          HCB     Receipt and review of Northwestern Mutual                   0.30           $112.50
                           statement of current values of policies (.3)

 07/25/19 01-        HCB   Conference with Truttee concerning insuranCe      •       ' 0.50           $187.50
                           and annuity policies - values; tax aspects,
                           exemptions (.5)

 08/15119          HCB     Review Order rescheduling •Heariiig on Debtor's             0.20             $75 .00     •
                           Objection to Employment of HCBPC and
                           calendar new date (.2)

 09/23/19 .        . HCB    Review docket in preparation for 9/26/2019           •     0.20             $7:5.00
                            hearing on Debtor's Objection to Employment
                            (.2)

  09/25/19 14X. HCB         Prepare for hearing on Debtor's Objection to               1.00            $37:5.00 •
                            Employment (1.0)          •       •

  09/26/19 t•I     HCB •    Attend hearing on Debtor's Objection to                    1.50          . $562.50
                            Employment of HCBPC as attorney for Trustee
                            (1.5)

  09/27/19         HCB      Prepare and upload proposed Order.granting                  0.50           $187.50
                            Application to Employ HCBPC as attorney for
                            Trustee (.5)

 11/1.3/19         HCB      Prepare, file and serve Notice of Hearing on                0.90           $337.50
                            Trustee's Objection to Exemptions (.9)
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Matter No. 43-1                                                                  January 14, 2021
CBSE andr4 Johnson Landry, Debtor 18-55697-LRC                                             Page 4


11/21/19A7- HCB        Review of Orders dismissing adversary              0.50           $187.50
                       proceedings filed by Debtor against mortgage
                       companies (.5) •

11/21/19 pf-- HCB      Telephone call from attorney Chris Gunnells        0.60           $225.00
                       regarding claim for personal injury on behalf of
                       Debtor (.3); Email to attorney Gurmells to send
                       sample application for employment of special
                       counsel (.3)

13/2(1/19 AAA', HCB    Review of Order rescheduling hearing on            0.60           $225.00
                       Trustee's Objection to Exemptions to 1/9/2020
                       (.1); Conference with Trustee regarding email
                       from Jeneane Treace concerning status report and
                       Debtor's allegations, Notice of Proposed
                       Abandonment, reset hearing on exempt property
                       (-5)
12/04119 fp, it HCB    Conference with Trustee and preparation of         1.50            $562.50
                       Notice of Abandonment and Response to
                       Debtor's Motion Requesting Trustee's Report
                       (1.5)

12/04/19      HCB      Revise and finalize pleadings filed by Trustee     0.50            $187.50
                       (-5)

12/20/19      HCB I-4- Review of Debtor's Motion for Delay (.1)           0.10             $37.50

01/07/20 iv( HCB       Review of Order Rescheduling Hearing and            0.20            $75.00
                       calendar hearing date (.2)

 )1/09120 OA' HCB      Review of Notice of Removal of Attorney for         0.80           $300.00
                       Trustee (.2); Review of Amended Operative
                       Complaint filed by Debtor in U.S. District Court
                       adding Trustee as Defendant (.6)

01/l 0/20     HCB      Review of Order Dismissing Notice of Removal        0.50           $187.50
                       of Trustee's Attorney (.2); Email from and to
                       Jeneane Treace concerning Trustee added to U.S.
                       District Court action (.3)

 01111/20 "X; HCB      Research regarding Barton doctrine (.5)             0.50           $187.50

 01/13/20     HCB      Legal research regarding Barton doctrine,           0.70           $262.50
   Case 18-55697-lrc            Doc 350
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Matthr No. 43-1                                                                             January 14, 2021
Casundra Johnson Landry, Debtor 18-55697-LRC                                                          Page 5 .


                             dismissal of District Court civil action as to
                             Trustee (.7)

01/13/20 rrit- HCB           Further research regarding Barton doctrine (.8)         0.80            $300.00

01.M/20                HCB   Preparation of Motion to Dismissyrustee as              1.00            $375.00
                             Defendant (1.0)

01/20/20    dirt       HCB   Continued research and preparation of Motion to     •   1.00            $375.00
                             Dismiss Trustee (Lo)

01/24/20 iL            HCB   Continued preparation of Motion to Dismiss and.         1.00            $375.00
                             Brief (1.0)

01123/201a, HCB              Continued preparation Of Motion to Dismiss and          1.00            $375.00
                             Brief (1.0)

011/29/20 pJ4          HCB   Continued preparation of Motion 'to Dismiss and         1.00            $375.00
                             Brief (1.0)

02/03/20 Kit, HCB            Finalize Motion to Dismiss and Brief (.3);              0.50            $187.50
                             Telephone call with Clerk's Office regarding ECF
                             (.2)

(12/04/20 wR, HCB            File Motion to Dismiss nnd Brief in U.S. District        0.70            $262.50
                             Court, including Conference with clerk (.7)

 02/06/20              HCB    Prepare, file and serve Motion for Continuance          1.00            $375.00
                              of Hearing on Trustee's Objection to Exemptions
                              (1.0)

 02/10/20 oile- HCB           Receipt and review of multiple docket entries in        0.60            $225.00
                              U.S. District Court case (.6)         ••

 02/12/20   64, HCB           Prepare and file Trustee's Report of Litigation        , 1.00           $375.00
                              (1.0)

 02/19/20 ill          HCB    Review of multiple docket entries in U.S.               0.30            $112.50
                              District Courrcase (.3) • •
                   ,
 onono                 HCB    Receipt and review of Debtor's Motion to                0.30            $112.50
                              Remove Trustee's Attoiney (.3)

 02/21/20              HCB    Review of multiple entries on docket Of U.S.            0.30             $112.50
  Case 18-55697-lrc     Doc 350     Filed 03/11/21 Entered 03/11/21 09:16:46                Desc Main
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Cassandra Johnson Landry, Debtor 18-55697-LRC                                                     'Page 6


                      District Court (.3)

0:2/28/20 ofc.HCB     geview of multiple entries on docket of U.S.                0.40           $150.00
                      District Court, including Final Report and
                      Recommendation that Trustee's Motion to
                      Dismiss be granted (4)

03/04/20 iv& HCB      Receipt and review of pleadings filed by Debtor             1.30           $487.50
                      regarding foreclosure and dispossessory (.3);
                      Preparation for hearing on Trustee's Objection to
                      Exemptions and Abandonment of Assets (1.0)

03/05/20      HCB     Attend hearing on Trustee's Objection to                    2.30            $86150
                      Exemptions and Abandonment of Assets (2.0);
                      Review Debter's Emergency Motion for
                      Voluntary Dismissal of Case (.3)

03/09/20 pj   HCB     Review of Orders and JUdgment entered in U.S.               0.30            $112.50
                      District Court, civil case terminated (.3)

03/10/20      HCB     Office conference with Advocate from Georgia ,              0.50            $187.50
                      Department of Human Services sent at Debtor's
                      request (NC); Conference with Trustee to discuss
                      status of case (.5)

03/11/20      HCB     Prepare and upload Order Sustaining Trustee's .             1.00            $375.00
                      Objection to Exemptions (1.0)

03/27/20 4 HCB        Prepare and file Trustee's Second Status Report              0.50           $187.50
                      of Litigation (.5)

04/07/20 Pt HCB       Review of Orders approving Notice of        ,       .        0.40           $150.00
                      Abandonment, denying Motion of Debtor to                •
                      Remove Trustee's Attorney, and establishing
                      Objection Deadline (.4)

0.4/09/20   &HcB       Telephone call with Ms. Euell of Northwestern               0.70           $262.50
                       Mutual regarding surrender value of life
                       insurance and annuity policies and email to
                       confrim conversation (.4); Telephone conference
                       with Trustee and Jeneane Treace concerning
                       Debtor's request for dismissal of case (.3)

 )4/16/20 02X HCB      Email from Ms. Euell of Northwestern Mutual                 0.10             $37.50
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Cassandra Johnson Landry, Debtor 18-55697-LRC                                                  Page 7


                         regarding policy values (.1)

04/21/20 10Y- HCB        Prepare Trustee's Objection to Debtor's Motion       1.00              $375,00
                         to Dismiss Case (1.0)

04/25/20 (2r•-• .HCB     Finalize and file Trustee's Objection to Dismissal   1.00              $375.00
                         of Case (1.0)

0:5/04/20     HCB        Review and calendar Notice of Hearing (.1)           0.10              . $37.50
05/19/20 1L HCB          Conference call with Trustee and Shawna Staton       0.70              $262.50
                         regarding hearing on Debtor's Dismissal of Case,
                         Trustee's Objection (.5); Email to ShaWna Staton
                         to send U.S. District Court pleadings (.2)

05/20/20 0- HCB          Prepare for hearing on Debtor's Motion to            1.00              $375.00
                         Dismiss Case (.5); Attend hearing (.5)

05/26/20 t* HCB          Review of Order Denying Debtor"s Emergency           0.20               $75.00
                         Motion to Dismiss Case (.2)

05/27/20 pf- HCB        • Email to Ms. Euell at Northwestern Mutual            0.40              $150.00
                          requesting funds from surrender of insurance and
                          annuity policies (A)

06/02/20 tsitf- HCB      Telephone call from Ms. Euell regarding               0.40              $150.00
                         payment of funds, tax liability, and email to M.
                         Euell to confirm conversation(.4)

 06/03/20 VI" HCB         Email from and to Ms. Euell regarding payment        0.30              $112.50
                          of funds to Trustee (.3)

 05/09/20 1') RHCB        Emails from and to Ms. Buell regarding checks        0.30              $112.50
                          payable to Trustee, W-9 fort' (.3)

 0 6/12./20 67Y- HCB      Review of Order and Judgment from U.S.               0.30              $112.50
                          District Court dismissing Appeal 18-cv-5095 (.3)               •




 06/16120 10- HCB         Review Debtor's Objection to Order denying           0.30              $112.50
                          dismissal of case (.3)

 07/09/20 (11,1:- HCB     Prepare and file Report of Trustee's Receipt of      0.50              $187.50
                          Funds (.5) -
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Cassandra Johnson Landry, Debtor 18-55697-LRC                                                 Page 8


07/17/20 tiA HCB.     Email to Debtor in response to her inquiry about       0.20            $75.00
                      disbursements by Trustee from estate account
                      (.2)

07/21/20 W HCB        Review of Order Denying Debtor's Objection to          0.30           $112.50
                      prior Order denying Motion to Dismiss case (.3)

07/29120 4,./( HCB    Review Claims Register in preparation for              1.00           $375, 00
                      Objections to Proofs of Claim (1.0)

07/30/20 tdc. HCB      Review of Debtor's Objection to Order (.2)       .    0.20            $75..00

03/12/20 :114f<HCB     Prepare objection to claim (5)                        0.50           $187..50

08/17/20 44/2i HCB     Continued preparation of objections to claims         1.00           $375..00
                       (1.0)

08/18/204/    HCB      Continued preparation of objections to claims         0.50            $187,50
                       ( 5)

08/20/20 iv   HCB      Continued preparation of objections to claims          0.50           $187,50
                       ( 5)
                                                       •    •
03/21/20 tiç HCB       Continued preparation of objections to claims         1..00           $375.00
                       (1.0)

03/26/20      HCB      Finalize, file and serve Objections to Claims,         1.50           $562,50
                       Notice of Hearing (1.5)

0/i0/20       HCB      Review of Order Denying Debtor's .Objection to         0.20            $75,00
                       Order dated 7/21/2020 (.2)

09/25/20      HCB      Review Response of Georgia Dept. of                    0.30           $112.50
                       Community Health to Trustee's Objection to
                       Claim (.3)

09/30/20      HCB      Review change of address filed by Debtor (.1)        . -0.10           $37.50

09/30/20      HCB      Prepare for hearing on Trustee's Objections to         0.80           $300.00
                       Claims (.8)

10/01/20      HCB      Attend telephonic hearing on Trustee's               , 1.20           $450.00
                       Objections to Claims (1.2)
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Cassandra Johnson Landry, Debtor 18-55697-LRC                                                       Page 9


1:104/20     HCB       Prepare and file Withdrawal of Trustee's                     0.60           $225.00
                       Objection to Claim of Georgia Dept. of
                       Community Health (.6)

12/03/20     HCB       Review of Order Granting Trustee's Motion to                 0.30           $112.50
                       Disallow Claims (.3) '

0L/05121     HCB       Prepare Application for Compensation for                     4.00          $1,500,00
                       Attorney for Trustee (4.0)

                                                      Hours:                    63.40
                                                   Total fees:                                   $23,775.00


Billiag Summary

   Previous balance                                        $0.00
   Payments & adjustments                                   0.00
   Current fees & expenses                             23,775.00

   Total now due                                      $23,775.00


                      Please make checks payable to Herbert C. Broadfoot II, P.C.
                                      Tax ID No. XX-XXXXXXX
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                          EXHIBIT B
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                    CLAIMS TRANSFERRED FROK NOTH APPLICATION FOR COMPENSATION AND CLAIMS SUBMITTED


CL.M VI              CREDITOR          CLAIM      CLAIM   ALLOWED    INTERIM    PROPOSED      OJECTION        ABANDONE
hi !AIME Ft                            ASSERTED   TYPE    AMOUNT     PAYMENTS   PAYMENT                       BY CHAPTEF,
                                                          OF CLAIM   TO DATE                                  TRUSTEE


IL                   THE DOWNS         2911.35    S       2911.35    0.00       0.00       SUBMITTED          N
111131\11-r ED       HOA C/O LAZEGA                                                        2/8/19 BY          2/15/2019
4/ ill/ a 3          AND JOHANSON                                                          CJLANDRY           (RELATED RE?
21.431451            P.O.BOX 250800                                                        (ACCORDING TO      PROPERTY
                     ATLANTA, GA                                                           DOCKEY ACTIVITY    BURDENSOM
                     30325                                                                 LOG RESPONSED
                     BY BRADLEY W.                                                         WERE DUE IN 30
                     GRIFFIN                                                               DAYS PLUS AN
                     (PROPERTY: 1440                                                       ADDITIONAL
                     HIGHLAND LAKE                                                         THREEE DAYS.
                     DRIVE,                                                                DOCUMENTATION
                     LAWRENCEVILLE                                                         SUPPORTING
                     GEORGIA                                                               FALSE CLAIM
                                                                                           UPLOADED INTO
                                                                                           BRC CASE. COPIES
                                                                                           OF MONEY
                                                                                           ORDERS
                                                                                           REFLECTING
                                                                                           PAYMENTS)
                                                                                           ITEM (150)
                                                                                           MORTGAGE
                                                                                           FRAUD.
                                                                                           INVESTIGATION
                                                                                           DENIED BY BRC,
2                    BUREAUS           13719.40   U       13719.00   0.00       6034.33    CAPITAL ONE        N
SU 131.)11 - ''ED    INVESTMENTS                                                           ?
40E4' L.1            GROUP NO 15
21.51: Ez12
3                    VALERI            30060.95   u       30060.95   0.00       13221.97   SUBMITTED          N
SU3tv1"-TE::         BURNOUGJH                                                             DOCUMENTATION
4./::1'/ L3          DELONG                                                                SHOWING PROOF
2.3.-I!; (1 05       CALDWELL                                                              OF PAYMENT,
                     BRIDGERS                                                              DOCUMENTATION
                     FITZPATRICK                                                           UPLOADED INTO
                     AND BENJAMIN                                                          BRC
                     (SUBMITTED BY
                     CHARLES                                                               CLIENT IS
                     BRIDGERS)                                                             DECEASED AS OF
                                                                                           9/2020




, I-                 AMERICAN          13312.03   U       13312.03   0.00       5855.14    INDENTITY THEFT
13ll 11.1r - IEI)    EXPRESS                                                               POLIOCE REPORT
5/B1 1..3            (SUBMITTED BY                                                         DATED 3/9/08
21.z.2C 34           BECKET AND LEE,
                     MUKHERJEE,
                     SABARI

                                                                1
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                   CLAIMS TRANSFERRED FROK NOTH APPLICATION FOR COMPENSATION AND CLAIMS SUBMITTED

                    CREDITOR          CLAIM       CLAIM   ALLOWED     INTERIM    PROPOSED   OBJECTION         ABANDONED ,
         III:                         ASSERTED    TYPE    AMOUNT      PAYMENTS   PAYMENT                      CHAPTER 7
                                                          OF CLAIM    TO DATE                                 TRUSTEE


                    DEPARTMENT OF     5000.00     U       5000.00     0.00       0.00       IRS REVOKED       N
          - E:)     TREASURY (FILED                                                         CLAIM.
                    BY THE IRS)                                                             ID THEFT
         D99




                    MIDLAND           9000.99     U                   0.00       3958.98    SUBMITTED         N
SU        "TED      FUNDING LLC,
                    SUBMITTED BY                                                            ID THEFT
23.5     879        MIDLAND                                                                 REPORT
                    CREDIT                                                                  SUBMITTED
                    MANAGEMENT.



                    WILMINGTON        199596.30   S       199596.30   0.00       0.00       SUBMITED          Y
S         I- EI)    SAVINGS FUND                                                                              2/15/19
          L.        C/OCARRINGTON                                                           MORTGAGE          (RELATED REA
       1: 165       (2969 SWEET                                                             FRAUD             PROPERTY
                    BRIAR WALK                                                              FALSE CLAIM       BURDENSOME
                    SNELLVILLE GA                                                           HOME STOLEN       LIFT OF STAY
                    30039)                                                                  AND SOLD WHILE    GRANTED
                                                                                            IN BANKRUPTCY
                                                                                            UNBEKNOWST TO
                                                                                            DEBTOR AND CO-
                                                                                            DEBTOR.
                                                                                            DEBTORS WERE
                                                                                            NOT NOTIFIED
                                                                                            UNTIL PRIVATE
                                                                                            INVESTIGATION
                                                                                            TOOK PLACE.
                                                                                            HOUSE WAS NOT
                                                                                            ABANDONED BY
                                                                                            DEBTOR AND CO-
                                                                                            DEBTOR.
                                                                                            UTILITIES WERE
                                                                                            ON AND
                                                                                            FRAUDULENT
                                                                                            1098'S UPLOADED
                                                                                            IN BRC CASE.
                                                                                            FRAUD
                                                                                            INVESTIGATION
         - -                                                                                DENIED.




                                                                2
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               CLAIMS TRANSFERRED FROK NOTH APPLICATION FOR COMPENSATION AND CLAIMS SUBMITTED

CLA'141         CREDITOR          CLAIM       CLAIM   ALLOWED      INTERIM    PROPOSED   OBJECTION            ABANDONED
Null/111ER                        ASSERTED    TYPE    AMOUNT       PAYMENTS   PAYMENT                         BY CHAPTER '
                                                      OF CLAIM     TO DATE                                    TRUSTEE




8               DEUTSCHE BANK     281001.85   S       281001.85    00.00      0.00       MORTGAGE             Y
SUBMITTED       NATIONAL                                                                 FRAUD FALSE          2/15/19
5/2,1/13        TRUST                                                                    CLAIM                REAL PROPER
215 6:184       OCWEN LOAN                                                               UPLOADED             BURDENSOM
                SERVICING                                                                FRADULENT            LIFT OF STAY
                (FILED BY BRIAN                                                          1098'S IN BRC FILE   GRANTED
                JORDAN,                                                                  OVER                 (ADVERSIAL
                ALDRIGE PITE)                                                            10+FRADULUENT        ACTION FILED
                (PROPERTY 1440                                                           LOANS, FRAUD         BRC DISMISSE
                HIGHLAND LAKE                                                            INVESTIGATION        SUBJECT MAT
                DRIVE,                                                                   DENIED               JURDIS W/O
                LAWRENCEVILLE                                                                                 PREJUDICE)
                GA 30045
9               QUANTUM 3 LLC     182.60      U       182.60       00.00      80.31      ID THEFT             N
SUBMITTED       COMENITY BANK
614i 13         (FILED BY
2153E882        QUANTUM 3
                GROUP LLC,


:Lti            JP MORGAN         492297.43   S       492297.43    0.00       0.00       MORTGAGE             Y
SUB VIFTED      CHASE                                                                    FRAUD FALSE          2/15/19
                (FILED BY                                                                CLAIM                REAL PROPER
215!:E LI 23    MCALLA,                                                                  UPLOADED             BURDENSOMI
                RAYMENR                                                                  FRADULENT
                HEATHER BOCK                                                             1098'S IN BRC FILE   LIFT OF STAY
                OR HEATHER                                                               OVER                 GRANTED
                BROCK)                                                                   10+FRADULUENT
                FICTIOUS                                                                 LOANS, FRAUD
                                                                                         INVESTIGATION
                                                                                         DENIED
11.             JP MORGAN         492297.43   S       492297.43    0.00       0.00       MORTGAGE             Y
SUB 'Al- TED    CHASE                                                                    FRAUD FALSE          2/15/19
5/7/13          (FILED BY                                                                CLAIM                REAL PROPER'
2153423         MCALLA,                                                                  UPLOADED             BURDENSOMI
                RAYMER                                                                   FRADULENT            LIFT OF STAY
                HEATHER BOCK                                                             1098'S IN BRC FILE   GRANTED
                OR HEATHER                                                               OVER                 (ADVERSARY
                BROCK)                                                                   10+FRADULUENT        ACTION: RICO
                FITICOUS                                                                 LOANS, FRAUD         FILED DISMISS
                ORIGINAL CLAIM                                                           INVESTIGATION        BY FED C. CLE
                FILED BY MARIA                                                           DENIED               OF COURT
                TSAGARIS BUT                                                                                  W/PREJUDICE
                W/D




                                                               3
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                  C:IAIIVIS TRANSFERRED FROK NOTH APPLICATION FOR COMPENSATION AND CLAIMS SUBMITTED

 CIA M             CREDITOR           CLAIM       CLAIM   ALLOWED      INTERIM    PROPOSED   OBJECTION          ABANDONED
 1\11,)11113IER                       ASSERTED    TYPE    AMOUNT       PAYMENTS   PAYMENT                       CHAPTER 7
                                                          OF CLAIM     TO DATE                                  TRUSTEE   '




  12               BANK OF            22656.01    U       22656.01     0.00       9964.98    Y                  N
  SUB VII-TED      AMERICA                                                                   ID THEFT
, 6/11 /13         (FILED BY BOA)
' 2160C 576


  13               BUREAU             11439.52    U       11439.52     0.00       5031.54    Y                  N
  SUB AFT ED       INVESTMENT                                                                ID THEFT
, 6/:1/t8          GROUP NO.
  21.5PC842        15(FILED BY PRA
                   REECEIVABLES)




, 14               CACH LLC,          33646.86    U       33646.86     0.00       14799.18   Y                  N
. SUB \41--TED     (FILED BY                                                                 SUBMITTED
  6/18/18          RESURGENT                                                                 PROOF OF
, 21601605         CAPITAL                                                                   PAYMENTS
                   SERVICES)


 15                WOODBRIDGE         6/11/18     U       Sold         0.00       0.00       Y                  Y
 SU BM I7TED       MORTGAGE           CLAIM 15            9/12/18                                               (BUT
 5/11/18           INVESTMENT         223693.54           (STILL IN                                             UNSECURED)
 21602414          FUND 3A LLC.       9/12/18             CHAPTER                                               3554 -
                   (FILED BY ePOC)    CLAIM 15            13)                                                   3556HABERSF
 HY:REF A          Electronic Proof   AMENDED                                                                   AT NORTHLAK
                   of Claim           CLAIM)                                                                    BLDG H

                   21602977           150.00      U       150.00       0.00       65.98      Y                  N
 SUBMITTED         EMORY EASTSIDE                                                            PAID
 6112/18           MEDICAL
 21.5C 2S77        CENTER
                   (ENTERED BY
                   RESURGENT
                   CAPITAL
                   SERVICES)
  :17              WILMINGTON         139245.29   S       139245.29    0.00       0.00       y                  Y
, SUBIAFTED        TRUST                                                                     MORTGAGE
  6/:L211.0        SELECT PORT.                                                              FRAUD
  2155C303         SERVICING INC
                   (FILED BY
                   JOSEPHINE
                   SALMON FROM
                   ALDRIDGE PITE
                   LLC


                                                                   4
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                   CLAIMS TRANSFERRED FROK NOTH APPLICATION FOR COMPENSATION AND CLAIMS SUBMITTED

 CLAIM              CREDITOR           CLAIM       CLAIM   ALLOWED    INTERIM    PROPOSED     OBJECTION         ABANDONED :-
 NIAIBIER                              ASSERTED    TYPE    AMOUNT     PAYMENTS   PAYMENTS                       CHAPTER 7 .
                                                           OF CLAIM   TO DATE                                   TRUSTEE
  18                VERIPRO            64540.89    S       65540.89   0.00       0.00         Y                 Y
i 5/12/.21)18       SOLUTION                                                                  (MORTAGE
  21456509          (FILED BY                                                                 FRAUD)
                    VERIPRO
                    SOLUTIONS INC,)
                    2NDMORTGAGE
                    ON 1440 HLD

 19                 NATCHEZ TRACE      2049.87     S       2049.87    0.00       0.00         Y                 Y
 SUM I-7ED          HOA                                                                       ALL RECORDS OF
 6/13/1.8           (FILED BY G.                                                              PAYMENTS SENT
 21515E46           LANIER
                    COULTER)




 20                 GA. DEPT OF        42634.37    U       42634.37   0.00       18,5782.23   Y                 Y
 SU BM 17-TED       COMMUNITY                                                                 ALL SUPPORTING
 91:.9/1.8          HEALTH DCH                                                                DOCS WERE SENT
 21229075           (FILED BY                                                                 TO INCLUDE
                    WHITNREY W.                                                               MODIFIED
                    GROFF)                                                                    TRANSCRIPTS
                                                                                              FROM
                                                                                              ADMINISTRTATIVE
                                                                                              HEARING
  21                BUREAUS            10389.98    U       10389.98   0.00       4569.91      Y                 N
  5 U 3 PI ITIED    INVESTMENT                                                                ID THEFT
: 2/2E/19           GROUP
  21.51M4.2         PORTFOLIO NO
                    15 (FILED BY PRA
                    RECEIVABLES)
, 22                ALLIANCE FOR       375000.00   U       0.00       0.00       0.00         JUDGE DENIED      Y
  SUB M I TTED      CHANGE             (MONEY                                                 CLAIM AFTER ALL
  3/12/1.9          THROUGH            OWNED                                                  DOCUMENTATION
  22202824          TREATMENT LLC,     TO                                                     WAS SUBMITTED
                    C/O CASSANDRA      CREDITOR
                    JOHNSON            LOANED
                    LANDRY             TO
                                       AGENCY)
. 23                CASSANDRA          42634.37    U       0.00       0.00       0.00         JUDGE DENIED      Y
  SUEiMITTED        JOHNSON-                                                                  CLAIM AFTER ALL
  3/3.1/19          LANDRY FOR         (MONEY                                                 DOCUMENTATION
  222C317()         ALLIANCE FOR       OWED TO                                                WAS SUBMITTED
                    CHANGE LLC,        AGENCY BY
                    (FILED BY          DCH)
                    CASSANDRA
                    JOHNSON-
                    LANDRY



                                                                  5
              Case 18-55697-lrc      Doc 350     Filed 03/11/21 Entered 03/11/21 09:16:46      Desc Main
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                 C:LAIMS TRANSFERRED FROK NOTH APPLICATION FOR COMPENSATION AND CLAIMS SUBMITTED

 CCAI 41          CREDITOR         CLAIM        CLAIM     ALLOWED    INTERIM    PROPOSED   OBJECTIONS       ABANDONEC
 NUN' Etrit                        ASSERTED     TYPE      AMOUNT     PAYMENTS   PAYMENTS                    CHAPTER 7
                                                          OF CLAIM   TO DATE                                TRUSTEE
 24                                2,24700.00   U         0.00       0.00       0.00       JUDGE DENIED     Y
  SUSIV117- ED    ABC OF ATLANTA   (MONEY IS                                               PAYMENT TO ABC
  3/11/19         LLC.             OWED TO                                                 LLC.
, 22202973        CLAIMED          AGENCY)
                  SUBMITTED BY
                  CASSANDRA
                  JOHNSON-
                  LAN DRY
                  (FISCAL
                  MANAGER FOR
                  DFACS DID NOT
                  FILE CLAIM)
 25               (21484451)       2911.335     S         2911.35                                           N
 SU BM r ryiED    THE DOWNS        SAME                                                                     2/ 15/19
 St.7,113         HOA              AMOUNT       (WHY IS
 23.444.51        LAZEGA AND       AS PRE-      THIS
                  JOHANSON LLC     PETITION     ALLOWED
                  SUBMITTED BY     (JUST        TO BE
                  (BRADLEY         WANTED       FILED
                  GRIFFIN)         TO           TWICE?)
                                   COLLECT
                                   TO
                                   EXHAUST
                                   ESTATE)




                                                                 6
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                               EXHIBIT C
                                      Case 18-55697-lrc                           Doc 350             Filed 03/11/21 Entered 03/11/21 09:16:46                                                                         Desc Main
                                      AGENCY ID. (ORI)
                                                                                                     Document     Page 31 of 35
                                                                                                 City of Snellville Police Department                                                                                       ..CASE.NUMBER
                             A     r 5§P, 7006§Trifi                                            INCIDENT REPORT                                                                                                        ..         —03—p95
             INCIIDIE             TYPE                                                                                                       COUNTS                 INCIDENT CODE               PREMISE TYPE.
         It...riutm .1 1resr oss                                                                                                                                         16-7-21              - ;HIGHWAY                              _FiSlIi.'.., STATION              ....
                                                                                                                                                     i                                       1);CONV, STORE                           IT    BANK
                                                                                                                                        ._;                                                 TapMMERCIAL                               !IF-RESIDENCE
F.4                          \IT _CCATION                                                                                                  LOC CODE                                         jUSCHOOL                              _l_Eeyi,LL OTHER                      ...
tr, 12279                    whirs! lid, Sinellville.Ga 30078 (LA Fitness                                                              1 r                Zone 1          -1                                 WEAPON TYPE
         IINODE VT DATE                             TIME                       DATE              TIME                     STRANGER TO STRANGER                          I - Wm                                         j1KNIFE I —CUTTING TOOL
         :        3/9/: 00!                III      11:34      • TO ;                                     . i -.1       YES i;?-1       NO Fi              UNK      L,i L [HANDS          / RST, ET                j        !OTHER
         ICOMPLAIN NJ                                                                                 ADDRESS                                                                                                                         PHONE NUM3ER                             !
            IL and ry •J o [also u ,Cassandrn                                                    I    [2279 Pinehurst Rd, Sneillvile,Git 30078                                                                              1          (678) 860-3621
            IVIEM '45 NAME                                                                                                              RACE              SEX       AGE             RESIDENCE PHONE                               BUSINESS PHONE                               !
         ILa ntity •J ohmic r..Cassandra                                                                                                                        I    4         [        (678) 860-3621                 -1 r            (678)406-9707
              DDR:1E                                                                                                                             :Lus'
                                                                                                                                         E-B C' ENTRACT                        EMPLOYER OR OCCUPATION                                                               _
                                                                                                                                             I
             I22.7, pi teh unit RdSneliville,G.A30078                                                                                            L                             FC-17-Em ploy ed

                     f:IJT        F. YES         WI NO                          IF YES, NAME VICTIM'S SCHOOL                   1— —                                                                                                                            -•

                                           NAME                                                                                                                                          RACE      SEX             DATE OF BIRTH                               AGE

                                      1.

                      !ti` TE              ADDRESS                                                                                               CENSUS TRACT                      HEIGHT          WEIGHT                         HAIR                     EYES

                        f.]                                                                                                                                                                         -                                                  L....
                  WAR tAl`rr               CHARGES                                                                                                                  COUNTS          OFFENSE CODE                  OFFENSE/ARREST                        3URIS.
                                                                                                                                                                                                                                                   ;
                        IT: -]                                                                                                                                                                                                                     I ICY

                                                                                                                                                                                                                                                       2. COUNTY

                                                                                                                                                                                                                       Li                    ,     ,   3. STATE
                                                                                                                                                                                                                                                   : 4. OJT OF
                                                 TOTAL NUMBER ARRESTED                       ARRESTED AT OR NEAR SCENE                                              DATE OF OFFENSE                                                                    STATE
                                                                                                     YES        E             NO        E                                                                                                              5. U4KNOWNI


                                                    TAG NUMBER                          STATE                 YEAR                 V.I.N.                                                                              PLATE ONLY                      VIN ONLY

ic::i
                  E.1 STC _EN                                                      1    F            _J                            L                                                                          1                 Ed
    I:T.!
    Li
                  Eii    F .EC'DVD                  YEAR           MAKE                                         MODEL                                                     STYLE                                        COLOR
1                 LE 5 USRE,71-S                    F-----1                                                                                                               L                                       Jr
                                                    -MOTOR SIZE (CID)                                  AUTO                   MAN.                       SPD.             INSURED BY

                                                      r       _________i
                                                                                            TRANS.            E                    Li
                                                                                                       ADDRESS                                                                                                         PHONE NUMBER



                                             VEHICLES                      CURRENCY,NOTES,ETC.                JEWELRY,PREC. METALS                          FURS
                                                                                                                                                           •I             0                                PROPERTY RECOVERY INFO ONLY
                             VEFIED          I            0                                                                                                               0                             THEFT / RECOVERY
                                                                                                                                                                                                                           JURISDICTION
                                                                                                                                                                                                                               CODES
                                             CLOTHING                      OFFICE EQUIP.                      TV, RADIO, ETC.                               HOUSHOLD GOODS                                                                       1. CITY
        711
        a.        1ST EN                                  0
                                                                                                                                                                                                             Li              LI                  2.COUNTY
                                                                                                                                                                                                              DATE OFTHEFT
                  IRE:OVER ED                1                                                                                                       _J    L                                                                                     3. STATE
                                                                                                                                                                                                                                                 1. OUT 01 STATE
                                                                                                                                                                                                                                                 S. UNKNOWN      '
                                             FIREARMS                      CONSUMABLE GOODS                    LIVESTOCK                                    OTHER
                  IS- )1 EN                                                                                                    0
                                                                                                                                                                                                TOTAL             F
                                                                                                                                                                                                                  I -                   0
                  IRKOVEBED -                                                                                                  0                                                                                                        0



                     GIAC EiNTP." 1:3 WARRANT                             Li    MISSING PERSONS                     E   VEHICLE                  El ARTICLE                    0    BOAT           1.7.7'.    GUN
        <
                                                                                                                                                                                                                                  •
              .          VES 1G 411014 INDICATE THAT THIS INCIDENT WAS DRUG-RELATED?
              , IF      S PLEASE : NDUCATE THE TYPE OF DRUG(S) USED BY OFFENDER
                                                                                                                Ej      YES            R7, NO
              •
        cj               I   . AMPHETAMINE                      2. BARBITURATE                 7 1 3. COCAINE                 FT 4. HALLUCINOGEN                                   -;•.' 5 HEROIN                  LI       10. ALCOHOL
                         E . MARIJUANA                          7. METHAN1PHETAMINE            L. 8. OPIUM                    T.    9. SYNTHETIC NARCOTIC                          E7   U. UNKNOWN

        r.Y       1BWIli ED DATA FIELDS                             rk,        ACTIVE       1',2 CLEARED BY ARREST                       FT, EXCEPTIONALLY CLEARED                                           UNFOUNDED                  REPORT DATE
        <
        IL. •        CLEARANCE REPORT
                                                                                                                                                                                                                                             3/9/2008
        U .                                      DATE OF CLEARANCE                                                       L ADULT                                                        JUVENILE
    •
                                 ATTA CHED NARRATIVE PAGE 2

              I
                  REPORTING OFFICER                                                                            NUMBER                    APPROVING OFFICER                                                                                             NUMBER
    .z
                                                        BOYD,A.B.III                                      '     . 23                                      ,exob,-vi
           Case 18-55697-lrc                Doc 350       Filed 03/11/21 Entered 03/11/21 09:16:46        Desc Main
             AGENCY ID. (ORI)                          Document               Page 32 of 35
                                                   City of Snellville Police Department                     CASE NUMBER
      !;A__,,L GA-0670800        ;            SUPPLEMENTAL REPORT                                          08-03-0395
                               ORIGINAL REPORT                          SUPPLEMENTAL REPORT            PAGE 1 2   OF      2


Disp2..tz.heCi To meet with the complainant in reference to someone breaking her window (passenager side)out of her
2005 (WIC YUKON while it was parked in the lot area of the listed location the complainant stated she placed her
small black purse near/under the passenager seat area were no-one she thought could see it.When she returned from
the .gy:n area she notice her wi&iw shattered and the purse was gone from where she placed it.contents of purse is
as fotiov,s:


     Walle: with id's in it
        :::arcl #408215102
    1.Dr.e American express card(acct number unknown at present)
    2. Mastercard (acct number unknown at present)
    3.Dre Tiffany& Co.(acct number unknown at present)
    4. Other Misc items such as house keys to other houses belonging to victim/husband
       N D money was inside purse.



Note: Complainant advised to contact this officer with Account numbers to each card
as soon as possible.




    CASE. STATUS:             ! ACTIVE       Ei CLEARED.   BY ARREST      17! EXCEPTIONALLY CLEARED   UNFOUNDED
    REPC:RT DATE          i      3/9/2008
  REPORT::NG OFFICER                                           NUMBER     APPROVING OFFICER                            NUMBER

                       BOYD,A.B.III                        i     23                                                    0,
Case 18-55697-lrc             Doc 350           Filed 03/11/21 Entered 03/11/21 09:16:46                                                  Desc Main
                                               Document     Page 33 of 35
      91336
      OEM                                                                                                           4   evIr
                                                                                                                        LP a.
                                                                                                                              oliBE .• 09J.
                                                                                                                              so
                                                                                                            BOOK
                                               WRIT OF FIERI FA.CIAS
                              IN THE MAGISTRA.TE COURT OF GWINNETT COUNTY, GEORGIA



         CIVIL ACTION NO.: SI-M-07919                                               AVERY & ELLIOTT INC DEA
         JUDGMENT DATE: 05/03/2002                                                  KIDS R KIDS 11
                                                                                               Plaintiff®
         Plaintiff's Attorney Name, Address & Telephone

         NAME:              LOUIS F RIOCIUTI
         ADDRESS:           PO BOX 39
                            AVONDALE ESTATES GA 30002 0039                          CASSANDRA JOHNSON
                                                                                             Defendant(a)
         TELEPHONE & AREA CODE: 404-296.3741                                        To all awl singular the sheriffs of the State and their !amid
                                                                                    deputies:
         Fi. Fa. in Hands on =IVA=
                                                                                    In the above styled ease, and on the judgment date set out, the
                                                                                    plabaiff(s) named above recovered against the defendant(s)
                                                                                    name above, judgment in the following sums:

                                                                                             Principal                                       229.00
                     c:s                                                                     Interest
                      e.                                                                     Interest-Other
                                                                                             Attorney's Fees
                                                                                             Court Costs                                      62.00
                     CA          ANCELLA.WON                                                 Total                                           291,00

                               oing Fi. Fa. having bean paid in full the
                    Otofer       is hereby directed to cancel it of record          Note,

                                                                                    with future interest upon said principal amount from the date
         SIGNATURE:                                                                 ofjudgmmit at the legal rate.

                                                                                    Therefore, YOU ARE COMMAMED, that of the goods and
                                                                                    chattels, lends and tenements of said Defentlant(s), and
         Tina                                                                       ESPECIALLY/ONLY of the following described properly, to




         YOU cause to be made the several sums set out in the foregoing recital of the judgment in this case and have the said rams of money
         before the Magistrate Court ofthis County at the next term of court, with this Writ to tender to said pisinliff(s) the principal, interest,
         attorney fee and costs aforesaid,
         Witness the Honorable pHARQN'IrOlICINS, Judge of Said Court, this the 10' day ofMAY, 2002.


                                                                                               , ,q.,..
                                                   13917                                    .diefir
                                                                                                 P',
                                                                                            on Gene Execution Docket                     at Page
                                                                                            .,, this _    day of                       .20_,
         Case 18-55697-lrc                   Doc 350           Filed 03/11/21 Entered 03/11/21 09:16:46                                      Desc Main
                                                              Document     Page 34 of 35
01432
00042
         45.11( I. 4 3 2 PA6E        0 42 WRIT OF FIEM FACIAS
                                 IN THE STATE COURT OF GWINNETT COUNTY

   CIVIL ACTION NUMBER: 02-C-9953.2                                       TRIAD FINANCIAL CORP
   JUDGMENT DATE: PER 1Y 25,2003
                                                                                                                              Plaintiff(s)
   Plaintiff's Attorney - Name, AddressA Telephone                                    VS,
   Name: CRAIG a LEFKOFP                                                  CASSANDRA JOHNSON
   Address: 3423 PIEDMONT RD
             STE 500
             ATLANTA, GA 30305                                                                                                Defendant(s)
                                                                          To ull and singular the sheriffs of the State and their lawful
                                                                          deputies:
   Telephone 8e. Area Code404469.6900
                                                                          In the above styled case, and on the judgment date set out, the
   Pi. Pa. in Hands of:                                                   plahrlifi/s) named above recovered against the defendant(s)
                                                                          named above, judgment in the following sums:
                 MN 17 PH12:01




                                                                            Principal                                         5,618,90

                                                                            Interest                                            978.64
                                                                            Interest-Other                                         0.00
            r-                                                              Attorney's Pees                                     684.75
   zS(
                                                                           Court Costs                                            90.00

                                                                            Total                                             '7,372.29

                          CANCELLATION                                     NOTE:

   The within and foregoing FL Fn. having been paid in fun
   the clerk of State Court is hereby directed to cancel it               with Enure interest upon said principal amount from the date
                                                                          of judgment at the legal rate.
   of record this                 day of,          , 20
                                                                          Therefore, YOU ARE COMMANDED, that of the goods and
   Signature:                                                             chattels, lands and tenements ofsaid defendant(s) and
                                                                          ESPECIALLY/ONLY of the fallowing described property,
   Title:                                                                 to wit:

   YOU cause to he made the several sums set out in the foregoing recital of the judgment In this case and have the said several sums of
   money before the State Court ofthls County at the next tenn of court, with this Writ to tender to said plaintiff(s) the principal,
   Interest, attorney fees and costs aforesaid.

   Witness the Honorable         HOWARD E. COOK                                                 Judge of Said Court,

   this the      13                 day of   MARCH                              2012_,

                                                                          TO:SR,              CLERK

                                                                     /    By:                         WIti        j2-d-
                                                                                                   Deputy Clerk

                                                                          Entered on General Execution Docket                    , at
                                                                                                                                                         111
                                                                          Page         this           day of                .,20_ .
   ST-5 Rev. 35                              06114
Case 18-55697-lrc   Doc 350    Filed 03/11/21 Entered 03/11/21 09:16:46   Desc Main
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             IN THE UNITED STATES BANKRUPTCY COURT OF THE
                  NORTHERN DISTRICT OF GEORGIA
                      CERTIFICATE OF SERVICE




 [ Cassandra Johnson-Landry currently submits Objection to Application of Herbert

 Broadfoot II Esq, for Allowance of Compensation as Counsel. Submitted

 document was submitted via USPS Mail on 3/10/2012. I verify I am over the age

 of 18 years. Copies of Objection was the following:



 S. Gregory Hays
 296 Peachtree Road NW, STE 555
 Atlanta Ga, 30305

 Herbert Broadfoot II, Esq
 296 Peachtree Road NW, STE 555
 Atlanta Ga, 30305



 Cassandra Jo   -Land
 678.860.3621
 Cjlandry1967@gmai1.com
